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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE

In re:                             :               Chapter 11
                                   :
EXIDE HOLDINGS, INC., et al.,      :               Case No. 20-11157 (CSS)
                                   :
                       Debtors.    :               Jointly Administered
__________________________________ :
                                   :
CALIFORNIA DEPARTMENT OF TOXIC :
SUBSTANCES CONTROL,                :
                                   :
                       Appellant,  :
                                   :
     v.                            :               C. A. No. 20-1402-RGA
                                   :
EXIDE HOLDINGS, INC., et al.,      :
                                   :
                       Appellees.  :

                                    RECOMMENDATION

                At Wilmington this 9th day of November, 2020.

                WHEREAS, pursuant to paragraph 2(a) of the Procedures to Govern

Mediation of Appeals from the United States Bankruptcy Court for this District dated

September 11, 2012, the court conducted an initial review, which included information

from counsel, to determine the appropriateness of mediation in this matter;

                WHEREAS, as a result of the above screening process, the issues

involved in this case are not amenable to mediation and mediation at this stage would

not be a productive exercise, a worthwhile use of judicial resources nor warrant the

expense of the process.

         Pursuant to this court’s order of October 23, 2020, the parties to this appeal
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responded through a joint letter on November 6, 2020. 1

       The parties had previously participated in an extensive multiparty mediation

which concerned the same issues that Appellant intends to raise on this appeal. T hat

mediation was unsuccessful. As a result, in light of this prior experience and the current

posture of the underlying bankruptcy, it is unlikely that mandatory mediation would

result in any consensual resolution of this appeal.

       The parties request, should this matter be removed from mandatory mediation,

that the following briefing schedule be entered:

Appellant’s Opening Brief                               November 18, 2020

Appellees’ Answering Brief                              December 21, 2020

Appellant’s Reply Brief                                 January 5, 2021

                 THEREFORE, IT IS RECOMMENDED that, pursuant to paragraph 2(a)

Procedures to Govern Mediation of Appeals from the United States Bankruptcy Court

for this District and 28 U.S.C. § 636(b), this matter be withdrawn from the mandatory

referral for mediation and proceed through the appellate process of this Court. No

objections to this Recommendation, pursuant to 28 U.S.C. § 636(b)(1)(B), F ED. R. CIV.

P. 72(a) and D. DEL. LR 72.1, are anticipated because it is consistent with the parties’

joint request.

       Local counsel are obligated to inform out-of-state counsel of this Order.


                                          /s/ Mary Pat Thynge
                                          Chief U.S. Magistrate Judge Mary Pat Thynge


       1
      This joint letter was docketed as instructed since it dealt with mediation, but
was emailed to this judge and her judicial assistant.

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